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                              UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MASSACHUSETTS


                                                          )
 COMMONWEALTH OF MASSACHUSETTS,                           )
                                                          )
                           Plaintiff,                     )
 v.                                                       )
                                                          )
                                                              Civil Action No. 1:18-cv-11120-ADB
 DMB FINANCIAL, LLC and                                   )
 GLOBAL CLIENT SOLUTIONS, LLC,                            )
                                                          )
                           Defendants.                    )
                                                          )
                                                          )

                               ANSWER OF DMB FINANCIAL, LLC

         Defendant, DMB Financial, LLC (“DMB”) hereby responds to the correspondingly

numbered paragraphs of the Complaint of the Plaintiff Commonwealth of Massachusetts (the

“Commonwealth”).


                                           INTRODUCTION

         1.        Admitted, except that DMB does not have knowledge or information sufficient to

respond to the allegations that consumers are “deep” in debt.

         2.        DMB admits that it tells consumers that it may be able to settle their debts for less

than they owe and denies the remaining allegations in this paragraph.

         3.        DMB admits that it advises consumers who enroll in its program to (i) limit their

communications with their creditors, (ii) stop paying their debts, and (iii) make monthly

payments into a dedicated savings account established and maintained by Defendant Global

Client Solutions, LLC (“Global”). DMB denies the remaining allegations in the first two

sentences of this paragraph. DMB denies the allegations in the third sentence of this paragraph.




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         4.        Admitted.

         5.        DMB denies the allegations contained in the first sentence of this paragraph.

Because the Commonwealth has not defined what a “large percentage” means or what constitutes

“many” consumers, DMB is unable to admit or deny the allegations contained in the second

sentence of this paragraph.

         6.        Denied, except that DMB admits that it has collected hundreds or thousands of

dollars in fees from consumers who have enrolled in its program.

         7.        Denied, except that DMB admits that some consumers who enroll in its program

have been sued by their creditors.

         8.        This paragraph characterizes the relief that the Commonwealth seeks, and no

answer is required. To the extent that this paragraph asserts allegations of fact, those allegations

are denied.


                           JURISDICTION, AUTHORITY, AND VENUE

         9.        This paragraph asserts conclusions of law to which no answer is required.

         10.       This paragraph asserts conclusions of law to which no answer is required.

         11.       This paragraph asserts conclusions of law to which no answer is required.

         12.       Denied, except DMB admits that 8 months ago, the Attorney General sent a letter,

threatening to file a lawsuit against DMB.


                                            THE PARTIES

         13.       Admitted.

         14.       Admitted.

         15.       DMB does not have knowledge or information sufficient to either admit or deny




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the allegations in this paragraph.


                               DMB’S DEBT SETTLEMENT PROGRAM

         16.       DMB admits that it is a Massachusetts-based company that offers to renegotiate

and settle the unsecured debts of financially distressed consumers who are struggling to pay their

creditors and denies the remaining allegations in this paragraph.

         17.       Admitted.

         18.       Denied.

         19.       Admitted.


Sales & Advertising

         20.       DMB admits that its debt settlement program is offered by DMB and outside

companies that DMB refers to as third-part affiliates and denies the remaining allegations in the

first sentence of this paragraph. DMB admits the allegations in the second sentence of this

paragraph.

         21.       Admitted.

         22.       This paragraph refers to DMB’s web site, which speaks for itself and no further

answer is required.

         23.       This paragraph refers to DMB’s web site, which speaks for itself and no further

answer is required.

         24.       This paragraph refers to DMB’s web site, which speaks for itself and no further

answer is required.

         25.       This paragraph refers to DMB’s web site, which speaks for itself and no further

answer is required.




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         26.       This paragraph refers to DMB’s web site, which speaks for itself and no further

answer is required.

         27.       This paragraph refers to DMB’s web site, which speaks for itself and no further

answer is required.

         28.       DMB admits that it has made alterations to its web site after receiving a civil

investigative demand from the Attorney General in 2016 and denies the remaining allegations in

this paragraph.

         29.       This paragraph refers to DMB’s prior web site, which speaks for itself and no

further answer is required.

         30.       This paragraph refers to DMB’s prior web site, which speaks for itself and no

further answer is required.

         31.       This paragraph refers to DMB’s prior web site, speaks for itself and no further

answer is required.


Sales Call

         32.       This paragraph refers to DMB’s web site, which speaks for itself and no further

answer is required.

         33.       Admitted.

         34.       Admitted.

         35.       DMB admits the allegations contained in the first sentence of this paragraph and

is without knowledge or information sufficient to either admit or deny the remaining allegations

in this paragraph.

         36.       Admitted.

         37.       Denied.



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         38.       DMB admits that it has developed responses to consumers’ frequently asked

questions and denies the remaining allegations in this paragraph.

         39.       This paragraph refers to DMB’s responses to frequently asked questions, which is

a document that speaks for itself and no further answer is required.

         40.       This paragraph refers to DMB’s responses to frequently asked questions, which is

a document that speaks for itself and no further answer is required.

         41.       This paragraph refers to DMB’s responses to frequently asked questions, which is

a document that speaks for itself and no further answer is required.

         42.       This paragraph refers to DMB’s responses to frequently asked questions, which is

a document that speaks for itself and no further answer is required.

         43.       Admitted.


Financial Condition of Consumers

         44.       Denied.

         45.       DMB admits that the average consumer who enrolls in DMB’s debt settlement

program has tens of thousands of dollars of debt and that some have more than $100,000 in debt,

and denies the remaining allegations in this paragraph.

         46.       Denied.

         47.       Denied.

         48.       DMB admits that some consumers who enroll in its debt settlement program are

unemployed or underemployed, elderly, sick, or disabled, and/or living on a limited or fixed

income and deny the remaining allegations in this paragraph.

         49.       Denied.




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Enrollment Documents

         50.       Admitted.

         51.       This paragraph refers to DMB’s contract, which is a document that speaks for

itself and no further answer is required.

         52.       This paragraph refers to DMB’s contract, which is a document that speaks for

itself and no further answer is required.

         53.       This paragraph refers to DMB’s contract, which is a document that speaks for

itself and no further answer is required.

         54.       Denied.

         55.       This paragraph refers to DMB’s contract, which is a document that speaks for

itself and no further answer is required.

         56.       This paragraph refers to DMB’s contract, which is a document that speaks for

itself and no further answer is required.

         57.       This paragraph refers to DMB’s contract, which is a document that speaks for

itself and no further answer is required.

         58.       This paragraph refers to Global’s contract, which is a document that speaks for

itself and no further answer is required.

         59.       This paragraph refers to Global’s contract, which is a document that speaks for

itself and no further answer is required.

         60.       This paragraph refers to Global’s contract, which is a document that speaks for

itself and no further answer is required.


Post Enrollment Communications

         61.       Admitted.



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         62.       This paragraph refers to an email, which is a document that speaks for itself and

no further answer is required.

         63.       This paragraph refers to materials that DMB sends consumers, which are

documents that speak for themselves and no further answer is required.

         64.       DMB admits that its practice is to have calls with consumers on or about 7, 14, 21

and 28 days after enrollment. The remainder of this paragraph refers to various scripts, which are

documents that speak for themselves and no further answer is required.

         65.       This paragraph refers to a script, which is a document that speaks for itself, and no

further answer is required.

         66.       Admitted.


Authorization for Settlements

         67.       Denied.

         68.       Admitted except that DMB does not have knowledge or information sufficient to

admit or deny the allegations in the last sentence of this paragraph.

         69.       Admitted.

         70.       Admitted.

         71.       Admitted.

         72.       Admitted.

         73.       Denied.


Debt Collection Lawsuits

         74.       This paragraph refers to various scripts, which are documents that speak for

themselves and no further answer is required.




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         75.       This paragraph refers to various scripts, which are documents that speak for

themselves and no further answer is required.

         76.       DMB admits that some consumers who enroll in DMB’s settlement programs are

sued for nonpayment of their debts one or more times and is without knowledge or information

sufficient to either admit or deny the remaining allegations in this paragraph.

         77.       DMB admits that it is not a law firm and denies the remaining allegations in this

paragraph.

         78.       Admitted.

         79.       DMB admits that it does not advise consumers as to the strength of the plaintiff

creditor’s claims, the consumers’ possible defenses or counterclaims, or whether the consumers

would be better served by filing for bankruptcy instead of entering into a settlement and is

without knowledge or information sufficient to admit or deny the remaining allegations in this

paragraph.

         80.       Denied, except that DMB admits that it attempts to negotiate with plaintiff

creditors’ law firms.


DMB’s Settlement Fees

         81.       Admitted.

         82.       Denied.

         83.       DMB admits that in the past it had typically requested and received a settlement

fee equal to 25% of the debt at the time of settlement, rather than at the time of enrollment. The

reminder of the first sentence of this paragraph is a conclusion of law to which no answer is

required. DMB admits that debts often increase between the time of enrollment and the time of

settlement and that a 25% fee at the time of settlement often would be greater than a 25% fee at



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the time of enrollment. DMB denies the remaining allegations in the second sentence of this

paragraph. DMB admits the allegations in the third sentence of this paragraph.

         84.       Denied.

         85.       Admitted.

         86.       Denied.

         87.       Admitted.


Examples of Consumer Experiences

         88.       Denied.

         89.       Denied.


Example 1

         90.       Admitted.

         91.       DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         92.       DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         93.       DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         94.       DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         95.       DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         96.       DMB does not have knowledge or information sufficient to either admit or deny




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the allegations in this paragraph.

         97.       DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         98.       DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.


Example 2

         99.       Admitted.

         100.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         101.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         102.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         103.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         104.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         105.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         106.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         107.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.



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Example 3

         108.      Admitted that a consumer enrolled in DMB’s debt settlement program in October

2015. DMB does not have knowledge or information sufficient to either admit or deny the

remaining allegations in this paragraph.

         109.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         110.      This paragraph refers to documents that speak for themselves, and no answer is

required.

         111.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         112.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         113.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         114.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.

         115.      DMB does not have knowledge or information sufficient to either admit or deny

the allegations in this paragraph.


                     ALLEGED VIOLATIONS OF THE MASSACHUSETTS
                            CONSUMER PROTECTION ACT

         116.      This paragraph refers to M.G.L. c. 93A, §2(a), which speaks for itself, and no

answer is required.

         117.      Because this paragraph asserts conclusions of law and refers to various court




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decisions which speak for themselves, no answer is required.

         118.      Because this paragraph asserts conclusions of law and refers to various court

decisions which speak for themselves, no answer is required.


                                               COUNT 1

         119.      DMB incorporates herein by reference its responses to the foregoing paragraphs.

         120.      This paragraph asserts conclusions of law to which no answer is required. To the

extent this paragraph asserts allegations of fact, DMB denies such allegations.

         121.      This paragraph asserts conclusions of law to which no answer is required. To the

extent this paragraph asserts allegations of fact, DMB denies such allegations.

         122.      This paragraph asserts conclusions of law to which no answer is required. To the

extent this paragraph asserts allegations of fact, DMB denies such allegations.


                                               COUNT 2

         123.      DMB incorporates herein by reference its responses to the foregoing paragraphs.

         124.      This paragraph refers to M.G.L. c. 221, §§46 and 46C, which speak for

themselves, and no answer is required.

         125.      This paragraph asserts conclusions of law to which no answer is required. To the

extent this paragraph asserts allegations of fact, DMB denies such allegations.

         126.      This paragraph asserts conclusions of law to which no answer is required. To the

extent this paragraph asserts allegations of fact, DMB denies such allegations.


                                               COUNT 3

         127.      DMB incorporates herein by reference its responses to the foregoing paragraphs.

         128.      This paragraph asserts conclusions of law to which no answer is required. To the



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extent this paragraph asserts allegations of fact, DMB denies such allegations.

         129.      This paragraph asserts conclusions of law to which no answer is required. To the

extent this paragraph asserts allegations of fact, DMB denies such allegations.

         130.      This paragraph asserts conclusions of law to which no answer is required. To the

extent this paragraph asserts allegations of fact, DMB denies such allegations.


                                     AFFIRMATIVE DEFENSES


FIRST DEFENSE

         To the extent that certain allegedly unfair or deceptive acts occurred more than four (4)

years prior to the filing of this lawsuit, those claims are barred by the statute of limitations.

                                    RESERVATION OF RIGHTS

         DMB reserves the right to amend his Answer and/or to amend or add further defenses that

may become known after the filing of this pleading.

         WHEREFORE, Defendant DMB Financial, LLC prays that this Court:

         A.        Enter a judgment in its favor on all Counts of the Complaint;

         B.        Award DMB Financial, LLC all costs, expenses and attorneys’ fees that are or
                   have been expended on its behalf in connection with this matter; and

         C.        Award DMB Financial, LLC such other and further relief that justice so requires.




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                                                  DMB FINANCIAL, LLC,
                                                  By its attorneys,

                                                  /s/ Shepard Davidson
                                                  Shepard Davidson (BBO #557082)
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                                                  Gregory S. Paonessa (BBO #691216)
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                                                  BURNS & LEVINSON LLP
                                                  125 Summer Street
                                                  Boston, MA 02110
Dated: June 12, 2018                              (617) 345-3000


                                 CERTIFICATE OF SERVICE

         I hereby certify that this document was filed through the CM/ECF system and will be sent

electronically to the registered participants as identified in the Notice of Electronic Filing (NEF)

on June 12, 2018.



                                                  /s/ Gregory S. Paonessa
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